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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the
Plan.
0 Valuation of Security  0 Assumption of Executory Contract or Unexpired Lease 0 Lien Avoidance

                                                                                         Last revised: November 14, 2023

                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF NEW JERSEY
                                                District of New Jersey
In Re:       Noelle Labowicz                                          Case No.:
             Martin Labowicz                                          Judge:
                                             Debtor(s)

                                           CHAPTER 13 PLAN AND MOTIONS

    Original                                  Modified/Notice Required              Date:
    Motions Included                          Modified/No Notice Required

                                     THE DEBTOR HAS FILED FOR RELIEF UNDER
                                      CHAPTER 13 OF THE BANKRUPTCY CODE.

                                           YOUR RIGHTS WILL BE AFFECTED

The Court issued a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You
should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this
Plan or any motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be
affected by this plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding,
and included motions may be granted without further notice or hearing, unless written objection is filed before the deadline
stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without further notice. See
Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or modification may take
place solely within the Chapter 13 confirmation process. The plan confirmation order alone will avoid or modify the lien. The
debtor need not file a separate motion or adversary proceeding to avoid or modify a lien based on value of the collateral or
to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a timely objection and
appear at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state whether
the plan includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the
provision will be ineffective if set out later in the plan.


THIS PLAN:

  DOES    DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE
SET FORTH IN PART 10.

  DOES   DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL,
WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE
MOTIONS SET FORTH IN PART 7, IF ANY, AND SPECIFY: 7a/ 7b/   7c.

   DOES    DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY
INTEREST. SEE MOTIONS SET FORTH IN PART 7, IF ANY, AND SPECIFY: 7a/ 7b/ 7c

Initial Debtor(s)' Attorney    RGS             Initial Debtor:   NL                   Initial Co-Debtor      ML

Part 1: Payment and Length of Plan



                                                        1
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            a.          The debtor shall pay to the Chapter 13 Trustee $923.01 monthly for 60 months starting on the first of the
                        month following the filing of the petition. (If tier payments are proposed) : and then $  per month
                        for      months; $         per month for            months, for a total of 60 months.
            b.          The debtor shall make plan payments to the Trustee from the following sources:
                                Future Earnings
                                Other sources of funding (describe source, amount and date when funds are available):
            c.          Use of real property to satisfy plan obligations:
                                 Sale of real property
                                 Description:
                                 Proposed date for completion:

                                      Refinance of real property:
                                      Description:
                                      Proposed date for completion:

                                      Loan modification with respect to mortgage encumbering property:
                                      Description:
                                      Proposed date for completion:

             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or loan
                                      modification. See also Part 4.

                                      If a Creditor filed a claim for arrearages, the arrearages will / will not be paid by the Chapter
                                      13 Trustee pending an Order approving sale, refinance, or loan modification of the real property.

             e.          For debtors filing joint petition:
                                 Debtors propose to have the within Chapter 13 Case jointly administered. If any party objects to
                                 joint administration, an objection to confirmation must be timely filed. The objecting party must
                                 appear at confirmation to prosecute their objection.

 Part 2: Adequate Protection                                 X NONE
         a. Adequate protection payments will be made in the amount of $      to be paid to the Chapter 13 Trustee and
 disbursed pre-confirmation to    (creditor). (Adequate protection payments to be commenced upon order of the Court.)

         b. Adequate protection payments will be made in the amount of $                               to be paid directly by the debtor(s) outside
 the Plan, pre-confirmation to:   (creditor).

 Part 3: Priority Claims (Including Administrative Expenses)

       a.       All allowed priority claims will be paid in full unless the creditor agrees otherwise:
 Name of Creditor                                   Type of Priority                                     Amount to be Paid
 CHAPTER 13 STANDING TRUSTEE                        ADMINISTRATIVE                               AS ALLOWED BY STATUTE
 ATTORNEY FEE BALANCE                               ADMINISTRATIVE                              BALANCE DUE: $2,750.00
 DOMESTIC SUPPORT OBLIGATION                                                                                       -NONE-
 irs                                                                   Taxes and Certain Other Debts                                      29,365.00
 State of NJ Division of Taxation                                      Taxes and Certain Other Debts                                      15,250.00



            b.          Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
                        Check one:
                          None

                            The allowed priority claims listed below are based on a domestic support obligation that has been
                        assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant
                        to 11 U.S.C.1322(a)(4):

 Name of Creditor                              Type of Priority                       Claim Amount                  Amount to be Paid


                                                                                  2
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 Part 4: Secured Claims

            a.          Curing Default and Maintaining Payments on Principal Residence:                       NONE

The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the debtor shall pay directly to
the creditor monthly obligations due after the bankruptcy filing as follows:

                                            Collateral or Type of Debt
                                            (identify property and add                     Interest Rate     Amount to be Regular Monthly
                                            street address, if                                       on    Paid to Creditor Payment Direct
 Name of Creditor                           applicable)                          Arrearage    Arrearage         by Trustee      to Creditor

            b.          Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
                        NONE

The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the debtor will pay directly to the
creditor monthly obligations due after the bankruptcy filing as follows:

                                            Collateral or Type of Debt
                                            (identify property and add                          Interest     Amount to be Regular Monthly
                                            street address, if                                  Rate on    Paid to Creditor Payment Direct
 Name of Creditor                           applicable)                          Arrearage    Arrearage         by Trustee      to Creditor

            c.          Secured claims to be paid in full through the plan which are excluded from 11 U.S.C. 506:                         NONE

The following claims were either incurred within 910 days before the petition date and are secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition
date and secured by a purchase money security interest in any other thing of value:
                               Collateral
                               (identify property and add                                   Total to be Paid Including Interest
                               street address, if                              Amount                   Calculation by Trustee
 Name of Creditor              applicable)                     Interest Rate of Claim

            d.          Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments                        NONE

                 1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2),
the secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured claim is
identified as having “NO VALUE” it shall be treated as an unsecured claim.

                                            NOTE: A modification under this Section ALSO REQUIRES
                                          the appropriate motion to be filed under Section 7 of the Plan.

                                 Collateral
                                 (identify property                                                         Value of              Total
                                 and add street                                       Total                 Creditor      Annual Amount to
                                 address, if                         Scheduled   Collateral    Superior    Interest in   Interest be Paid by
 Name of Creditor                applicable)                              Debt       Value       Liens     Collateral       Rate Trustee
 -NONE-

               2.) Where the Debtor retains collateral and completes all Plan payments, payment of the full amount of the
allowed secured claim shall discharge the corresponding lien.


            e.          Surrender              NONE

                        Upon confirmation, the automatic stay is terminated as to surrendered collateral only under 11 U.S.C.
                        362(a) and that the stay under 11 U.S.C 1301 shall be terminated in all respects. The Debtor surrenders the
                        following
                                                                                 3
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                        collateral:

 Name of Creditor                                        Collateral to be Surrendered              Value of Surrendered Remaining Unsecured
                                                         (identify property and add street                    Collateral               Debt
                                                         address, if
                                                         applicable)

            f.          Secured Claims Unaffected by the Plan                        NONE

                        The following secured claims are unaffected by the Plan:

                                                                                     Collateral (identify property and add street address, if
 Name of Creditor                                                                    applicable)

            g.          Secured Claims to be Paid in Full Through the Plan:                        NONE

 Name of Creditor                                Collateral (identify property       Amount              Interest         Total Amount to be Paid
                                                 and add street address, if                              Rate         through the plan by Trustee
                                                 applicable)
 Part 5: Unsecured Claims                               NONE


            a.          Not separately classified allowed non-priority unsecured claims shall be paid:
                               Not less than $     to be distributed pro rata

                                      Not less than              percent

                                      Pro Rata distribution from any remaining funds

            b.          Separately classified unsecured claims shall be treated as follows:

 Name of Creditor                                        Basis for Separate Classification       Treatment                   Amount to be Paid by
                                                                                                                                          Trustee

 Part 6: Executory Contracts and Unexpired Leases                                         X NONE

(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property
leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the following,
which are assumed:

 Name of Creditor Arrears to be Cured and Nature of Contract or Lease Treatment by Debtor                                  Post-Petition Payment
                  paid by Trustee                                                                                          to be Paid Directly to
                                                                                                                           Creditor by Debtor

 Part 7: Motions                   X NONE

NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice of
Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of
Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of Court when the plan
and transmittal notice are served


            a.          Motion to Avoid Liens under 11 U.S.C. Section 522(f).                        NONE

The Debtor moves to avoid the following liens that impair exemptions:


                                                                                 4
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                         Nature of
                         Collateral
                         (identify
                         property and                                                                              Sum of All
                         add street                                                                Amount of      Other Liens        Amount of
 Name of                 address, if                                     Amount of     Value of      Claimed      Against the        Lien to be
 Creditor                applicable)              Type of Lien               Lien     Collateral   Exemption         Property          Avoided


            b.          Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.                             NONE

                The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent
with Part 4 above:

                                                                                                             Value of
                              Collateral (identify                           Total                           Creditor's          Total Amount
 Name of                      property and add street Scheduled              Collateral                      Interest in          of Lien to be
 Creditor                     address if applicable) Debt                    Value          Superior Liens   Collateral           Reclassified

            c.          Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
                        Unsecured.      NONE

                 The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:

                  Collateral (identify
                  property and add                                            Total                                              Amount to be
                  street address if                            Scheduled      Collateral      Amount to be Deemed               Reclassified as
 Name of Creditor applicable)                                  Debt           Value                        Secured                  Unsecured

            d.          Where the Debtor retains collateral, upon completion of the Plan and issuance of the Discharge, affected
                        Debtor may take all steps necessary to remove of record any lien or portion of any lien discharged.

 Part 8: Other Plan Provisions
        a.     Vesting of Property of the Estate


                        Upon Confirmation
                        Upon Discharge

            b.          Payment Notices

        Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

            c.          Order of Distribution

            The Trustee shall pay allowed claims in the following order:

                         1)        Chapter 13 Standing Trustee Fees, upon receipt of funds
                         2)        Other Administrative Claims
                         3)        Secured Claims
                         4)        Lease Arrearages
                         5)        Priority Claims
                         6)        General Unsecured Claims

            d.          Post-Petition Claims


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       The Trustee      is,    is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the
amount filed by the post-petition claimant.

 Part 9: Modification                      X NONE

NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in
accordance with D.N.J. LBR 3015-2.

            If this Plan modifies a Plan previously filed in this case, complete the information below.

        Date of Plan being modified:      .
 Explain below why the plan is being modified:


 Are Schedules I and J being filed simultaneously with this Modified Plan?                                 Yes       No


 Part 10 : Non-Standard Provision(s): Signatures Required
         Non-Standard Provisions Requiring Separate Signatures:
            NONE
            Explain here:
        Any non-standard provisions placed elsewhere in this plan are ineffective.

 Signatures

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify
that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and
Motions.

I certify under penalty of perjury that the above is true.

 Date:        March 7, 2024                                                   /s/ Noelle Labowicz
                                                                              Noelle Labowicz
                                                                              Debtor

 Date:        March 7, 2024                                                   /s/ Martin Labowicz
                                                                              Martin Labowicz
                                                                              Joint Debtor


 Date         March 7, 2024                                                   /s/ Robert Swan
                                                                              Robert Swan
                                                                              Attorney for the Debtor(s)




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